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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )               CASE NO.      06-92M
                                 )
12         v.                    )
                                 )
13                               )               DETENTION ORDER
    MYRON COSMO CURRY,           )
14                               )
                Defendant.       )
15 ______________________________)
16 Offense charged:
17            Count 1: Conspiracy to Distribute Oxycodone;
18            Count 2: Carrying a Firearm During and in Relation to a Drug Trafficking Crime.
19 Date of Detention Hearing: March 8, 2006
20            The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. §
21 3142(f), and based upon the factual findings and statement of reasons for detention hereafter
22 set forth, finds that no condition or combination of conditions which the defendant can meet
23 will reasonably assure the appearance of the defendant as required and the safety of any
24 other person and the community. The Government was represented by Vince Lombardi.
25 The defendant was represented by Robert Leen.
26


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 1        FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 2          (1)   There is probable cause to believe the defendant committed the drug
 3                offense. There is therefore a rebuttable presumption against the
 4                defendant’s release based upon both dangerousness and flight risk, under
 5                Title 18 U.S.C. § 3142(e).
 6          (2)   Defendant poses a risk of danger due to the nature of the instant offense,
 7                inasmuch as he was arrested in possession of a semiautomatic weapon.
 8                This fact, alone, placed him in violation of state release conditions on
 9                pending King County Superior Court charges. Accordingly, presumption
10                against release has not been overcome.
11
12          It is therefore ORDERED:
13          (l)   The defendant shall be detained pending trial and committed to the
14                custody of the Attorney General for confinement in a correction facility
15                separate, to the extent practicable, from persons awaiting or serving
16                sentences or being held in custody pending appeal;
17          (2)   The defendant shall be afforded reasonable opportunity for private
18                consultation with counsel;
19          (3)   On order of a court of the United States or on request of an attorney for
20                the Government, the person in charge of the corrections facility in which
21                the defendant is confined shall deliver the defendant to a United States
22                Marshal for the purpose of an appearance in connection with a court
23                proceeding; and
24   //
25   //
26   //

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 1         (4)   The clerk shall direct copies of this order to counsel for the United
 2               States, to counsel for the defendant, to the United States Marshal, and to
 3               the United States Pretrial Services Officer.
 4         DATED this 13th day of March, 2006.
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 6
                                                    A
                                                    MONICA J. BENTON
 7                                                  United States Magistrate Judge

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     DETENTION ORDER
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